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 8                                 UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN FRANCISCO DIVISION

11    AMGEN INC. and AMGEN                            Case No. 3:16-cv-02581-RS
      MANUFACTURING, LIMITED,
12                                                    [PROPOSED] FINAL JUDGMENT
                            Plaintiffs,
13
             v.                                       The Honorable Richard Seeborg
14
      SANDOZ INC., SANDOZ INTERNATIONAL
15    GMBH, SANDOZ GMBH, and LEK
      PHARMACEUTICALS, D.D.,
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                            Defendants.
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     [PROPOSED] FINAL JUDGMENT
     Case No. 3:16-cv-02581-RS
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         Case 3:16-cv-02581-RS Document 187 Filed 01/08/18 Page 2 of 2



 1                                 [PROPOSED] FINAL JUDGMENT
 2              It is hereby ORDERED and ADJUDGED:

 3              Pursuant to the Court’s Order Granting Summary Judgment of Noninfringement and

 4    Denying Rule 56(d) Motion (Dkt. No. 183) and Joint Stipulation of Dismissal of All Claims and

 5    Counterclaims Related to U.S. Patent No. 5,824,784, and Order (Dkt. No. 61), the Court hereby

 6    ENTERS FINAL JUDGMENT in this matter:

 7              (i) against Amgen Inc. and Amgen Manufacturing, Limited (collectively, “Amgen”) and

 8    in favor of Sandoz Inc., Sandoz International GmbH, Sandoz GmbH, and Lek Pharmaceuticals

 9    d.d. (collectively, “Sandoz”) on Amgen’s first and second causes of action for infringement of

10    U.S. Patent No. 8,940,878 (“the ’878 patent”);

11              (ii) in favor of Sandoz Inc. and against Amgen on Sandoz Inc.’s first counterclaim for

12    noninfringement of the ’878 patent;

13              (iii) in favor of Lek Pharmaceuticals d.d. (“Lek”) and against Amgen on Lek’s first

14    counterclaim for noninfringement of the ’878 patent;

15              (iv) dismissing without prejudice Amgen’s third cause of action for infringement of U.S.

16    Patent No. 5,824,784 (“the ’784 patent”);

17              (v) dismissing without prejudice Sandoz Inc.’s second, third, and fourth counterclaims for

18    invalidity of the ’878 patent, noninfringement of the ’784 patent, and invalidity of the ’784 patent;

19    and

20              (vi) dismissing without prejudice Lek’s second counterclaim for invalidity of the ’878

21    patent.

22

23    Dated: 1/8/18
                                                     Honorable Richard Seeborg
24                                                   United States District Court Judge
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     [PROPOSED] FINAL JUDGMENT
     Case No. 3:16-cv-02581-RS
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